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              EXHIBIT 416
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 2

 3                                    UNITED STATES DISTRICT COURT

 4                    NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

 5
     STACIA STINER, et al.,                                  Case No. 4:17-CV-03962-HSG (LB)
 6
                        Plaintiffs,                          DECLARATION OF DOUGLAS J.
 7                                                           ANDERSON IN SUPPORT OF
              v.                                             DEFENDANT’S RESPONSE IN
 8                                                           OPPOSITION TO PLAINTIFFS’ MOTION
     BROOKDALE SENIOR LIVING INC. et al.,
                                                             FOR CLASS CERTIFICATION
 9
                        Defendants.
10

11

12   I.       Background/Qualifications
13            1.    I am a Partner at LCM Architects (“LCM”), a Chicago-based architectural firm that
14   specializes in accessible design requirements of Title III of the Americans with Disabilities Act
15   (“ADA”) and federal, state, and local disability access laws. My business address is 819 S. Wabash
16   Ave., Fifth Floor, Chicago, IL 60605, (312) 913-1717.
17            2.    I have served as an expert consultant on the ADA’s accessibility requirements for
18   facilities since 1998 and am thoroughly familiar with the requirements of the 1991 ADA Standards for
19   Accessible Design (the “1991 Standards”) and the 2010 ADA Standards for Accessible Design codified
20   at 28 C.F.R. Part 36, Subpart D (2011) and 36 C.F.R. Part 1191, Appendices B and D (2009) (the “2010
21   Standards”). I acquired my extensive knowledge of the ADA’s accessibility standards over the course
22   of 30 years.
23            3.    From 1992 to 1998, I was the ADA Technical Assistance Specialist and Coordinator at
24   the Great Lakes Disability and Business Technical Assistance Center (“Great Lakes ADA Center”)
25   which received funding by the U.S. Department of Education National Institute on Disability and
26   Rehabilitation Research to provide education and training to the public about the ADA Regulations and
27   ADA Standards for Accessible Design.
28
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 1
              4.    Since joining LCM in 1998, I have personally conducted close to 900 inspections of
 2
     public accommodations facilities to assess their conformance with the 1991 or 2010 Standards.
 3
              5.    I have been retained as the independent ADA consultant tasked to inspect facilities
 4
     covered by consent decrees and settlements for Hilton Worldwide and Carnival Cruise Lines, with the
 5
     approval of the U.S. Department of Justice. I am serving as the independent ADA consultant assisting
 6
     in the implementation of a nationwide ADA Title III class action settlement with Cracker Barrel.
 7
              6.    I am a Certified Access Specialist (“CASp”) in California and a Registered Accessibility
 8
     Specialist in Texas – the only two states that certify access specialists (following a rigorous written
 9
     examination) who can conduct inspections and review plans for compliance with the ADA and state
10
     accessibility standards.
11
              7.    Since 2015, I have served as a member of the ANSI A117.1 Accessibility Standards
12
     Committee. This committee develops the accessibility standards for the International Building Code
13
     which is a model building code that many states ultimately adopt as their building code. In 2020, I was
14
     appointed to serve as the Chair of the Accessible Bathing Task Group.
15
              8.    From 2003 to 2011, I served as a member of the U.S. Access Board, the federal agency
16
     responsible for developing the 1991 and 2010 Standards which were then adopted by the DOJ into its
17
     ADA regulations. I was Chairman of the U.S. Access Board from 2009 to 2010.
18
              9.    I have been retained by the U.S. Department of Justice (“DOJ”) as a subject matter expert
19
     on three different occasions, most recently as a subject matter expert related to plan review and
20
     construction review of the Belmont Park Arena in New York. The second occasion was also working as
21
     a subject matter expert managing surveys and reporting in a multifamily housing case involving over 50
22
     housing developments for the DOJ. Third, I have completed surveys related to settlements for three
23
     additional multifamily housing matters. Of those three settlements, one involved an agreement between
24
     private parties regarding multifamily housing developments located throughout the country, one
25
     involved a DOJ settlement regarding senior living facilities in the New England region, and one
26
     involved a voluntary compliance agreement between a city agency and the Department of Housing and
27
     Urban Development (“HUD”) regarding properties subject to the Rehabilitation Act, California Building
28                                                  2
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 1
     Code, ADA, and Fair Housing Act (“FHA”). As part of this DOJ-HUD matter, I conducted two
 2
     multiday trainings for architects and building code officials in California which involved both classroom
 3
     and field trainings.
 4
              10.   I have conducted over 50 full day trainings nationwide on the Fair Housing Act and
 5
     multifamily housing for HUD. I was also one of the lead editors of HUD’s second edition of the Fair
 6
     Housing Act Design Manual.
 7
     II.      Methodology for Assessing Existing Facilities
 8
              11.   Based upon my training and experience, the proper methodology for accurately assessing
 9
     existing facilities for compliance with accessibility codes and standards requires four steps. These
10
     include:
11                  1.      Determine the original construction date and type of occupancy.
12                  2.      Determine if alterations have occurred since the original construction date.
13                  3.      Determine if any applicable code or standard requires modifications to existing
14                          elements and if those modifications are readily achievable.

15                  4.      Perform an on-site survey using generally accepted best practices to evaluate each
                            element for compliance with any applicable code or standard.
16

17            12.   Without researching the information in Steps 1 - 3, it is not possible to accurately

18   determine what codes or standards apply to each element within each facility. Without knowing what

19   code or standard applies, you do not know what elements must be evaluated or the required

20   measurements for those elements. You therefore cannot accurately determine if the existing elements

21   are compliant or noncompliant with the applicable accessibility codes and standards.

22            13.   For example, until 2007 the California Building Code (“CBC”) allowed a 42” by 48”

23   configuration for accessible showers, as shown in the photo and diagram immediately below this

24   paragraph. The Communities involved in the present case were built between 1961 and 2007.

25   However, the Plaintiffs’ experts used the 2016 and 2019 versions of the CBC to evaluate all of the

26   Communities, regardless of construction or alteration date, and both of those versions of the CBC

27   require different shower configurations. Without knowing when the shower was built or last altered, it

28                                                       3
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 1
     is not possible to know which shower configuration was required at the time of construction or
 2
     alteration. The Plaintiffs’ experts’ practice of assuming all elements of all facilities regardless of their
 3
     construction or alteration date must comply with the most current accessibility codes and standards is
 4
     incorrect.
 5

 6

 7

 8

 9

10

11

12

13

14                  Diagram of 42” by 48” shower from the CBC and photo from an existing condition from
                    a Community.
15

16            14.   As another example, built-up curb ramps were allowed in access aisles of accessible

17   parking spaces in the CBC until 1994. If a parking lot has those built up curb ramps, and has not been

18   altered since 1994, then there is no violation of the CBC. However, this is a condition that the Plaintiffs’

19   experts called out as a violation at multiple Communities, without regard to the date of construction or

20   alteration of the parking lot. To illustrate, below is a diagram of a built-up curb ramp from the 1994

21   CBC and photo of an existing built-up curb ramp condition from a Community from Plaintiffs’ experts’

22   report, but for which they did not note the date of construction or alteration.

23

24

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28                                                         4
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                                                          .
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10            15.    The Certified Access Specialist Program Best Practices Manual issued by the California

11   Division of the State Architect states:

12            It is recommended that the CASp ask the owner about the construction history of the facility so
              that the applicable standards can be determined, in order to establish the basis of the inspection.
13            If the applicable standards are unable to be determined, it is recommended that the CASp advise
              the owner that using current standards instead of the applicable standards may lead to
14            additional improvements as a result of the more restrictive compliance requirements of current
              standards.
15

16            16.    In keeping with best practices, the following describes the steps necessary to conduct an

17   accurate evaluation of existing facilities.

18   Step One – Determine the original construction date and type of occupancy.

19            17.    Step One begins with researching permit records from the local building department or

20   permit plans to verify the original occupancy type and first occupancy date. This information is

21   necessary to determine what edition of the CBC might apply to the facility, if the facility would be

22   subject to the design and construction requirements of the FHA, and if the facility falls within one of the

23   twelve categories listed as a potential place of public accommodation under the ADA. Exhibit 1 to this

24   Declaration diagrams the process for completing Step One.

25            18.    Step One must be fully completed before the inspector conducts the onsite survey

26   because knowing the elements that must be reviewed, the dimensions used to evaluate the elements, and

27

28                                                        5
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     any requirement for a number of units to which accessibility requirements may apply is essential to
 2
     properly completing the assessment.
 3
              19.   For example, if the FHA applied to the property, the reviewer would need to know which
 4
     of the 15 safe harbors was used to meet the FHA design and construction requirements and you would
 5
     need to review each dwelling unit to verify compliance. See Exhibit 2 to this Declaration for a list of
 6
     FHA Safe Harbors.
 7
              20.   The DOJ has not provided any guidance or interpretation to suggest that residential
 8
     assisted living facilities are a place of public accommodation or must comply with Title III of the ADA.
 9
     If, however, the ADA did apply to a portion of an existing property, you would need to know if the 1991
10
     or 2010 ADA Standards applied and into which of the twelve categories of public accommodation the
11
     facility would be classified, as the requirements differ between the 1991 and 2010 Standards and the
12
     public accommodation categories.
13
              21.   Once the applicable codes and standards that apply to the facility are identified, the
14
     inspector begins Step Two prior to the survey of each facility.
15
              22.   In the present matter, the Plaintiffs’ experts used new construction standards in the 1991
16
     and 2010 ADA Standards and the 2016 and 2019 CBC to evaluate the compliance of all 40
17
     Communities they inspected, regardless of the Community’s date of construction or any alterations.
18
              23.   Exhibit 3 to this Declaration shows the construction dates for each Community, based on
19
     the information that we have, and consistent with the dates reflected in materials to which Plaintiffs’
20
     experts referred. Over 50% of the Communities were constructed prior to the 1991 ADA Standards, and
21
     100% of the facilities were constructed prior to the 2010 ADA Standards and 2016 and 2019 CBC.
22
     Therefore, applying the new construction standards is inappropriate. You must apply the applicable
23
     standard in effect when each Community was built.
24
     Step Two – Determine if alterations have occurred since the original construction date.
25
              24.   Step Two involves researching records from the building department or information from
26
     the building owner to determine if any alterations had occurred after the original construction and
27
     occupancy date. This is important because alterations would be subject to the accessibility code or
28                                                      6
      DECLARATION OF DOUGLAS J. ANDERSON IN SUPPORT OF DEFENDANTS’ RESPONSE IN OPPOSITION TO
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 1
     standard that was in effect at the time of the alteration.
 2
              25.    It is critical to know what elements were altered and where in the facility the alterations
 3
     took place so that the appropriate code or standard can be used to evaluate compliance of the altered
 4
     area(s) or element(s). Often you will have multiple versions of a building code apply to different areas
 5
     of a facility due to alterations that have taken place in different places over the life span of the facility.
 6
              26.    For example, if a common single-user toilet room in a facility built in 2008 is renovated
 7
     today, it would be required to increase the clearance around the toilet to 60” if feasible to comply with
 8
     the 2019 CBC requirements. Other unaltered toilet rooms in the facility would be remain compliant
 9
     with 28” of clearance from the edge of the toilet to an adjacent sink—which was the CBC requirement
10
     when the facility was built. Both toilet rooms would be compliant, but two different versions of the
11
     CBC must be used to evaluate them. It would be necessary to know which toilet rooms were altered in
12
     order to evaluate each one using the proper code or standard. Exhibit 4 to this Declaration diagrams the
13
     process for completing Step Two. I saw no evidence that Plaintiffs’ experts did this.
14
     Step Three – Determine if any applicable code or standard requires modifications to existing
15
     elements and if those modifications are readily achievable or provide equivalent facilitation.
16
              27.    The final step for conducting an accessibility survey is to determine if there is any code
17
     or standard that would require elements that have not been altered to be modified to comply with a more
18
     recent version of the building code or standard. Exhibit 5 to this Declaration diagrams the process for
19
     completing Step Three.
20
              28.    The ADA imposes an ongoing obligation on places of public accommodation to remove
21
     barriers where it is readily achievable (in other words, without significant difficulty or expense) to do so,
22
     to bring the elements into compliance with current accessibility standards. If an element does not
23
     comply with current 2010 Standards (or 1991 Standard if the element fell into in the safe harbor
24
     afforded at the time the 2010 Standards went into effect) and was not technically required to comply due
25
     to the date of construction or alteration, the next step is to determine whether removal of that barrier is
26
     readily achievable. California law differs from the ADA here, and does not require readily achievable
27
     barrier removal. If it is not readily achievable to remove the barrier, the ADA does not consider the
28                                                         7
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 1
     barrier a violation of law nor require it to be removed (until/if it becomes readily achievable to remove
 2
     the barrier at some later time).
 3
              29.   The surveyor must assess each barrier on a case-by-case basis to determine if the removal
 4
     would be readily achievable. The work that could be required to modify an existing condition to comply
 5
     with the ADA Standards may require extensive work or not be possible due to structural constraints or,
 6
     for example, the location of electrical chases, plumbing chases, or elevator shafts. This evaluation
 7
     would begin in the field, with the surveyor collecting measurements, photos, and other information
 8
     about the barrier, as well as information about the structural conditions surrounding the barrier. Even
 9
     still, a surveyor cannot know the financial ability of a building owner to remove barriers (to know
10
     whether the barrier might require significant expense to remove) and usually a surveyor cannot
11
     determine if a proposed barrier removal is something that is easy to accomplish without too much
12
     difficulty without more information about the building constraints.
13
              30.   We also need to consider whether any condition, even if it might constitute a technical
14
     barrier under the applicable ADA Standards, might be considered a permissible equivalent facilitation.
15
     For example, if a resident requests a specific modification to a facility to increase access to them due to
16
     their disability, that would be considered an equivalent facilitation that provides equal or even greater
17
     access than what any applicable access standard might require. The equivalent facilitation analysis is
18
     specific to and varies element by element, person by person, and condition by condition.
19
              31.   A surveyor also needs to consider which portions of a facility are open to the public and
20
     which portions are not. In residential facilities, generally the only portions that are covered by the ADA
21
     are the sales or leasing office (if the facility has one and it is open to the public), or common spaces
22
     where the public accesses its services (for example, if an apartment complex has a coffee shop that is
23
     open to the public but all other areas are resident-only, only the coffee shop would be subject to the
24
     ADA). As another example, for residential facilities that have sales offices that are open to the public,
25
     the only areas subject to the ADA would be the future resident parking (if provided), an entrance, the
26
     sales office, and the restrooms serving the sales office. In my inspections of Communities at issue in the
27

28                                                        8
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 1
     present matter, it varied as to if a Community had a sales office, as well as whether that sales office was
 2
     open to the general public.
 3
     Step Four – Perform an on-site survey using generally accepted best practices to evaluate each
 4
     element for compliance with any applicable code or standard.
 5
              32.   After gathering the background information regarding construction dates, alteration dates,
 6
     and evaluation of the applicable codes and standards, a surveyor should look for information regarding
 7
     each facility’s site plan, building layout, unit plans, and common areas. This exercise provides
 8
     additional information about possible changes that were made during construction, any subsequent
 9
     alterations, and to plan for an efficient survey.
10
              33.   The surveyor then conducts an on-site survey. The survey consists of identifying and
11
     inspecting any specific rooms or other areas that are subject to accessibility requirements. The tools
12
     used to evaluate the facility should provide a level of accuracy that would equal the standard used,
13
     mandated, and/or recommended by state or federal enforcement agencies. In our work with the DOJ,
14
     the DOJ requires the use of a digital two-foot level for assessing the running slope of and cross slope of
15
     accessible routes including sidewalks and ramps, as well as for the levelness of door maneuvering
16
     clearances, accessible passenger loading zones, accessible parking spaces, and clear floor spaces. The
17
     following are the standard survey tools used by the DOJ Civil Rights Division in conducting its
18
     accessibility surveys: a metal measuring tape that is at least 25-feet long; a two-foot long electronic
19
     (digital) level; a digital camera (one with at least three megapixels of resolution with a zoom feature can
20
     be used to photograph measurements on tape measures and digital levels); and a pressure gauge.
21
              34.   Another consideration in surveying existing conditions is that standard industry
22
     tolerances apply to all constructed conditions and will vary depending on the method of construction and
23
     construction material. For instance, the anticipated plumbness of a tiled wall using a wood-studs,
24
     concrete backer board, 3/8” ceramic tile and thin set mortar will be allowed a greater tolerance range
25
     than a sink cabinet that is manufactured in a factory. This is a recognized allowance in both the CBC
26
     and ADA Standards and the DOJ makes allowances for these deviations under Section 3.2 of the 1991
27
     Standards, and 104.1.1 of the 2010 Standards, as well as under Section 104.1.1 of the 2016 and 2019
28                                                     9
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 1
     CBC.
 2

 3
              35.   When surveying facilities that have multiple buildings located in the same or different
 4
     locations, buildings built from a prototype plan will require less survey preparation and the survey
 5
     execution will be more efficient. Prototype facility layouts also allow for more efficient development of
 6
     prototype accessibility modifications.
 7
              36.   There was no such prototype facility or layout here. With the Communities at issue in
 8
     this matter, each Community had a different site plan, building plan, and unit plans. Each Community
 9
     was developed, constructed, and experienced any alterations at different times, by different owners,
10
     managers, contractors, and architects, and would therefore be subject to different building codes.
11
     III.     Findings Regarding Existing Facilities
12
              37.   When I was asked to review Plaintiffs’ experts’ findings of the Communities which the
13
     Plaintiffs’ experts had surveyed, I and my team reviewed the Plaintiffs’ experts’ reports and other
14
     documents and information that we were informed Plaintiffs had produced in this matter. We then
15
     performed in-person surveys of 37 of the Communities which Plaintiffs’ experts had inspected. For
16
     these surveys, we inspected the apartments and common areas that Plaintiffs’ experts stated in their
17
     reports that they inspected.
18
              38.   I reviewed original construction documents and building department records which
19
     Plaintiffs had produced, and which Defendants had produced to Plaintiffs, to verify whether the codes
20
     Plaintiffs’ experts used were appropriate based on the time of any construction and alterations (without
21
     making any determination of whether the ADA would actually apply to a given Community). See
22
     Exhibit 3 to this Declaration for a timeline showing when each facility was constructed and the codes
23
     and standards in effect. Exhibit 6 contains building plans for a sample of Communities, which shows
24
     that the buildings were built using different building plans.
25
              39.   I reviewed the layout for each Community to better understand what I would be
26
     surveying and to plan an efficient survey. Exhibit 7 contains aerial views showing the site layout for
27
     each community, and plainly illustrates that each site is different.
28                                                      10
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 1
              40.   Exhibit 8 contains unit layouts from some of the communities, showing that the units at
 2
     each community were designed using different footprints and/or layouts.
 3
              41.   From the surveys, I found that the elements identified as barriers in Plaintiffs’ experts’
 4
     reports varied greatly in configuration, measurements, and more. I noticed that features Plaintiffs’
 5
     experts identified in their reports as violations in one Community or in one room were compliant in
 6
     other Communities or in other rooms in the same Community. Exhibit 9 illustrates the many different
 7
     configurations of elements identified in the Plaintiff’s experts’ reports.
 8
              42.   Even within the same Community, there are not standardized elements or designs, which
 9
     means each element must be assessed individually to determine whether it is a barrier (rather than
10
     making any generalized assumptions that an element in one space will be exactly the same as the
11
     element in another space). This also means that making modifications to any one of these conditions
12
     may require customized solutions. This demonstrates the need to measure and photograph each element
13
     and surrounding conditions to determine if the element violates the applicable standards and if there any
14
     readily achievable solutions, or whether an equivalent facilitation may have been provided. I found that
15
     in many instances the Plaintiffs’ experts failed to do this; instead making generalizations as to “common
16
     conditions” that were in fact not common. I noticed that even one the of the Plaintiffs’ experts used a
17
     matrix he created in which he apparently noted how a certain condition varied greatly in different units
18
     within a specific Community. However, the reports were often lacking photos or measurements of some
19
     of those conditions, preventing me from assessing whether each condition did in fact constitute a barrier
20
     and what—if any—barrier removal measures may have existed and been readily achievable.
21
              43.   I also found that where Plaintiffs’ experts proposed a potential barrier removal action, it
22
     may not have taken into account the realities of the condition or space, let alone whether removal of the
23
     barrier is readily achievable. For example, Plaintiffs’ expert indicated that he found the bathroom
24
     shown in the residential unit in the photos below for the Corona Community to lack sufficient turning
25
     space. His proposed barrier removal of enlarging and reconfiguring the bathroom in one of the
26
     residential units would require reducing the living space and reframing of walls (and assumes the wall
27
     proposed to be removed is not load-bearing or containing immovable infrastructure).
28                                                     11
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 8                                        Corona Community residential unit.
 9
              44.    During my inspections, I learned that each Community is responsible for its own
10
     alterations, which are designed and constructed independently at each site, and which created further
11
     distinctions within and between Communities. During the surveys, the Executive Director (“ED”) and
12
     Maintenance Director (“MD”) of each Community informed us that modifications are made case-by-
13
     case based on the individual needs and requests of residents, to address maintenance issues, or to refresh
14
     finishes, fixtures, and furniture.
15
              45.    Some of the modifications we observed or that EDs and MDs noted they had made for
16
     residents at their request were the installation or relocation of grab bars (including floor to ceiling grab
17
     bars near toilets, showers, or beds), addition of adaptive equipment such as toilet seats with integrated
18
     gab bars, removing doors and modifying closets, cutting bathtub walls, and providing adjustable shower
19
     chairs. Even if these modifications did not strictly follow any applicable accessibility code or standard,
20
     if installed specific to a resident’s request and needs, they would be considered an equivalent
21
     facilitation. Some residents requested grab bars mounted at an angle or vertically to be customized to
22
     their needs rather than the standard horizontal orientation or lowering or removing a portion of the
23
     sidewall of a bathtub to assist with transfer to a bathtub seat or chair. Exhibit 10 to this Declaration
24
     contains examples of customized modifications made at residents’ requests.
25
              46.    Maintenance is typically not considered an alteration for the purposes of accessibility
26
     codes and standards, and, at each Community, maintenance work is often completed by the MD or one
27

28                                                        12
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 1
     of the MD’s staff, subject to the resident’s specifications. Because the work is not typically considered
 2
     an alteration, it would not be subject to review or approval by the local building code department.
 3
     IV.      Findings Regarding Plaintiff’s Expert Reports
 4
              47.   I was asked to review Plaintiffs’ experts’ reports of Communities, including conducting
 5
     an on-site review of actual conditions compared against their findings in each specific Community and
 6
     units that Plaintiffs’ experts had reviewed, and to provide my professional opinions in my capacity as an
 7
     accessibility expert. The units I inspected were within the set of residential units the Plaintiffs’ expert
 8
     inspected. My opinions as to Plaintiffs’ experts’ findings follow.
 9
     Survey methodology
10
              48.   As noted above, the Plaintiffs’ experts did not follow proper methodology for surveying
11
     existing facilities in that they evaluated the Communities as new construction using the 2016 CBC and
12
     2019 CBC and the 1991 and 2010 ADA Standards. As all the reviewed Communities were built
13
     between 1961 and 2007 and assisted living is not specifically classified as a place of public
14
     accommodation under Title III of the ADA, none of the standards used by the Plaintiffs’ experts may
15
     apply to the construction of these facilities—and certainly none of these Communities should have been
16
     surveyed as newly-constructed facilities.
17
              49.   When, as was the case here, surveys are conducted applying the current new construction
18
     standards to older facilities, the result is a skewed representation of the number of issues at the sites and
19
     a lack of site-specific remediation options for each condition. All barrier removal recommendations
20
     Plaintiffs’ experts provide in their reports are based on generic language without recognizing the unique
21
     nature of each condition and the consideration and investigation that would be necessary to determine
22
     the cost and scope of work for feasible and appropriate modifications.
23
              50.   The Plaintiffs’ experts also failed to provide federal regulatory, interpretive, or written
24
     guidance that these residential facilities would be covered as a place of public accommodation under the
25
     ADA—rather, they seem to have assumed that they are. Even if the ADA applied to the Communities,
26
     the Plaintiffs’ experts’ reports did not consider that barrier removal work is only required if it is readily
27
     achievable, and they did not apply a readily achievable analysis to their barrier removal
28                                                      13
      DECLARATION OF DOUGLAS J. ANDERSON IN SUPPORT OF DEFENDANTS’ RESPONSE IN OPPOSITION TO
             PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION / CASE NO. 4:17-CV-03962-HSG (LB)
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 1
     recommendations—nor could they likely have done so due to the many necessary structural and
 2
     financial considerations, as discussed above. For example, as discussed above, many of Plaintiffs’
 3
     experts’ barrier removal recommendations called for enlarging restrooms and other actions that would
 4
     require moving walls and relocating plumbing, without knowledge about feasibility or cost of such
 5
     work.
 6
     Use of Nontraditional Tools
 7
              51.   It also appeared that Plaintiffs’ experts used nontraditional survey equipment to find
 8
     extremely small deviations. For example, a precision tool intended for custom millwork projects such as
 9
     cutting compound molding angles was used to measure door thresholds. Use of such precision may
10
     cause them to call out minute differences that are within construction tolerances and not barriers, and to
11
     inflate the number relevant issues beyond those that could properly be considered barriers on the site.
12

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19            52.   As another example, use of an electronic tape measure for determining height of closet

20   rods and coat hooks, as seen in the photos below, or the height of trees or deployed table umbrellas,

21   while suspending the tool over the floor without support can yield inaccurate readings.

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      DECLARATION OF DOUGLAS J. ANDERSON IN SUPPORT OF DEFENDANTS’ RESPONSE IN OPPOSITION TO
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 9   Survey and Reporting Errors
10            53.    I also noted problems in Plaintiffs’ experts’ execution of the surveys, which is reflected
11   in problems in the accuracy of their reports, such as missing photographs of measurements,
12   measurement errors, misleading information, and misinterpretation or application of the codes and
13   standards.
14            54.    Specifically, some of the findings in Plaintiffs’ experts’ reports do not provide
15   photographs showing the measurement of the alleged barrier so I was unable to verify the issue or see
16   where the measurement was taken. For example, as shown in the excerpt from Plaintiffs’ Corona report
17   copied immediately below, the report indicates a bottom landing slope was 3.9%, but no photo of the
18   condition was provided nor description of the location of where the 3.9% measurement was taken. My
19   team’s field measurements of the bottom landing in the area where we assumed Plaintiffs’ experts were
20   referring did not find a 3.9% measurement. Our readings ranged from 0.4% to 2.4%, which are all
21   under or within construction tolerance for ADA slope measurement requirements. The general
22   acceptable construction tolerance standards for the building industry are documented in a book titled
23   “Handbook of Construction Tolerances” Second Edition by David Kent Ballast. This breaks down
24   several design and construction elements and we believe provides a good overall reference.
25            From the Plaintiffs’ Corona Report:
26

27

28                                                        15
      DECLARATION OF DOUGLAS J. ANDERSON IN SUPPORT OF DEFENDANTS’ RESPONSE IN OPPOSITION TO
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10            Photos from LCM Review of Corona Report Show bottom landing slope ranges from 0.4% to
              2.4%.
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28                                                   16
      DECLARATION OF DOUGLAS J. ANDERSON IN SUPPORT OF DEFENDANTS’ RESPONSE IN OPPOSITION TO
             PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION / CASE NO. 4:17-CV-03962-HSG (LB)
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      DECLARATION OF DOUGLAS J. ANDERSON IN SUPPORT OF DEFENDANTS’ RESPONSE IN OPPOSITION TO
             PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION / CASE NO. 4:17-CV-03962-HSG (LB)
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              55.    We found many incorrect measurements in our review of Plaintiffs’ experts’ reports such
 2
     as the toilet compartment at North Euclid pictured below. The Plaintiffs’ report listed this as an alleged
 3
     violation with a width of 57.375”. No photo of their measurement was provided, but our measurement
 4
     showed 59.875”—well within construction tolerance for the ADA 60” ADA requirement for this
 5
     element.
 6
              From the Plaintiffs’ North Euclid Report:
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15            Photos from LCM’s field review of the North Euclid report.
16

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22
                                Photos from LCM’s field review of the North Euclid report.
23

24            56.    Some of the Plaintiffs’ findings were misleading about the severity of conditions at
25   different Communities. One example of an overstated issue was at the Scotts Valley Community
26   parking, where the Plaintiffs’ report indicated that the slope of the parking space was measured up to
27   11.5%. This extreme slope measurement was taken in the gutter pan in front of the parking space—
28                                                        18
      DECLARATION OF DOUGLAS J. ANDERSON IN SUPPORT OF DEFENDANTS’ RESPONSE IN OPPOSITION TO
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 1
     which is not part of the parking space, nor required to be level—instead of on the surface of the parking
 2
     space, and the photos even show that the Plaintiffs’ surveyor had to hold his foot on the portion of the
 3
     level in the gutter pan because there was such an extreme difference between the slope of the parking
 4
     surface and the gutter pan.
 5
              From the Plaintiffs’ Scotts Valley Report:
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                                             Scotts Valley gutter pan slope
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23                                           Scotts Valley gutter pan slope

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              57.    One of the challenges in reviewing the Plaintiffs’ reports in the field was that often the
25
     report would state that a unit was similar to a previously surveyed unit. Quite often, however, the issues
26
     that Plaintiffs’ experts listed as similar in other units were not found in all of the units that they
27
     referenced. For example, at the Auburn property, the Plaintiffs’ expert claimed that unit 120 was similar
28                                                     19
      DECLARATION OF DOUGLAS J. ANDERSON IN SUPPORT OF DEFENDANTS’ RESPONSE IN OPPOSITION TO
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     to unit 311 “except where noted”. However, I found that unit 120 was a unit with accessible features
 2
     whereas unit 311 was a standard unit with no accessibility features—yet the Plaintiffs’ experts noted no
 3
     differences between the units on their report, and the two units were in no way similar. This is a
 4
     significant oversight. The differences between those two units are clearly seen in the photos below.
 5
              Unit 311 – Kitchenette photos from Plaintiffs’ expert:
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              Unit 120 – Kitchenette photos that I took shows that Unit 120 is not similar to Unit 311:
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              Unit 311 – Bathroom photos from Plaintiffs’ expert:
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28                                                       20
      DECLARATION OF DOUGLAS J. ANDERSON IN SUPPORT OF DEFENDANTS’ RESPONSE IN OPPOSITION TO
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 8            Unit 120 – Bathroom photos that I took shows that Unit 120 is not similar to Unit 311:

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      DECLARATION OF DOUGLAS J. ANDERSON IN SUPPORT OF DEFENDANTS’ RESPONSE IN OPPOSITION TO
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 1            Unit 120 – Bathroom photos that I took shows that Unit 120 is not similar to Unit 311.
 2
              58.    Other issues with the Plaintiffs’ reports included misinterpretation or misapplication of
 3
     the codes and/or standards. One of the issues the reports listed as “common” relates to the accessibility
 4
     of handles or controls. The accessibility codes and standards require operable controls to be usable
 5
     without tight grasping, pinching, or twisting of the wrist. This is known as a performance standard as
 6
     opposed to a technical standard because there is no objective way to measure for this characteristic.
 7
     Some surveyors use a “closed fist test” to see if a control meets these performance requirements. While
 8
     this test may be one method for trying to determine performance, it is not the technical standard, and
 9
     should not be relied upon as the exclusive methodology for the usability of a control by someone with
10
     limited mobility or strength in their hands. The standard precludes tight grasping, pinching, or twisting
11
     of the wrist. For example, while the refrigerator handle space in the photographs below may not be
12
     large enough for a closed fist, it does not require a tight grasp, pinch, or twist to operate, and thus would
13
     not violate the accessibility standard.
14

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21
          Photo showing refrigerator handle space does not require a tight grasp, pinch, or twist to operate.
22

23            59.    Another issue plaintiffs raised that was misleading relates to the application of roll-in
24   shower standards to modified bathtubs. A modification we found that a Community may have made at a
25   resident’s request is lowering or removing a sidewall of a bathtub to make it easier for a user to transfer
26   their feet and legs into the basin of the tub when using a tub seat or chair. Plaintiffs’ experts always
27   erroneously identified these tub modifications as roll-in showers with inaccessible layouts.
28                                                        22
      DECLARATION OF DOUGLAS J. ANDERSON IN SUPPORT OF DEFENDANTS’ RESPONSE IN OPPOSITION TO
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 1            Chatsworth Cut Wall Tubs:
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              Ocean House Cut Wall Tubs:
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20            60.    Because the Plaintiffs’ experts failed to follow the steps necessary to perform the surveys
21   in the Communities according to accepted methodology, we don’t have reliable information as to
22   whether each element they pointed out is compliant or not with any applicable standards. This is
23   especially impactful because Plaintiffs raise different issues regarding each Community and each room
24   in each Community and because every Community is different in site layout, unit layouts, common
25   areas, and more.
26            61.   Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury the foregoing is true and
27   correct.
28                                                      23
      DECLARATION OF DOUGLAS J. ANDERSON IN SUPPORT OF DEFENDANTS’ RESPONSE IN OPPOSITION TO
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 2   Executed this 3rd day of March 2022, in Charlotte Amalie, St. Thomas.
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 8                                                    Douglas J. Anderson
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      DECLARATION OF DOUGLAS J. ANDERSON IN SUPPORT OF DEFENDANTS’ RESPONSE IN OPPOSITION TO
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                                                           Step 1                                            Exhibit 1


                                               Applicable California Building Code (CBC)
                                                           1981, 1985, 1989
                                                           1992, 1995, 1998
                                                           2001, 2007, 2010
                                                           2013. 2016, 2019



Building for Permit
      Original        Occupancy
Construction Date
                                                          Multi-Family Housing
                                                         (FHA only) - 3/13/1993

                                                                                                             Pre 3/12/2012
                                                                                                          1991 ADA Standards


                                                                                        Place of Public
                                                          ADA
                                                                                       Accommodation?


                                                                                                            Post 3/12/2012
                                                                                                          2010 ADA Standards
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                                                 Step 2                                                 Exhibit 4




Alteration Element   Maintenance of Alteration                 Date of Alteration




                       Applicable CBC
                                                      ADA Alteration Standard 1991        CBC Path of Travel Requirements
                     Alteration Standard
                                                            ADA Standards
                      1981, 1985, 1989
                                                         2010 ADA Standards               ADA Path of Travel Requirements
                      1992, 1995, 1998
                      2001, 2007, 2010
                      2013. 2016, 2019
                     Case 4:17-cv-03962-HSG Document 377-1 Filed 03/03/22 Page 28 of 87
                                              Step 3                                                            Exhibit 5




                                                                                   Is Modification of Element
                                                                                      Readily Achievable?
Unaltered Elements                          Does ADA Apply?                           - Easily Achievable?
                                                                                           - Difficult?
                                                                                          -Expensive?
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Exhibit 2

Fair Housing Act Design and Construction Safe Harbor Standards
   1. HUD Fair Housing Accessibility Guidelines and the Supplemental Notice
   2. ANSI A117.1 (1986), used with the Fair Housing Act, HUD’s regulations,
       and the Guidelines
   3. CABO/ANSI A117.1 (1992) used with the Fair Housing Act, HUD’s
       regulations, and the Guidelines
   4. ICC/ANSI A117.1 (1998) used with the Fair Housing Act, HUD’s
       regulations, and the Guidelines
   5. The Fair Housing Act Design Manual (1998)
   6. Code Requirements for Housing Accessibility 2000 (ICC/CRHA)
   7. International Building Code 2000 with 2001 Supplement
   8. International Building Code 2003, with one condition
   9. ICC/ANSI A117.1 (2003) used with the Fair Housing Act, HUD's
       regulations, and the Guidelines
   10. International Building Code 2006, with the January 31, 2007 Errata
   11. ICC/ANSI A117.1 (2009) used with the Fair Housing Act, HUD's
       regulations, and the Guidelines
   12. International Building Code 2009
   13. International Building Code 2012
   14. International Building Code 2015
   15. International Building Code 2018
                                                                                              Case 4:17-cv-03962-HSG Document 377-1 Filed 03/03/22 Page 30 of 87
                                                                                                                           Exhibit 3

                                              1961   1962   1963   1964   1965      1966       1967    1968     1969    1970      1971      1972        1973       1974   1975     1976       1977      1978   1979   1980   1981
Appicable Codes and




                                                                                                                       Uniform Building Code (UBC)
Standards
     Construction Date (New Constrcition)




                                            Ocean                                                                                                    Central    Valley           Garden
                                            House                                Chatsworth                   Corona                                 Whittier   View             Grove     Clairemont


                                                                                                                                                                                 Anaheim
                                                                                   Case 4:17-cv-03962-HSG Document 377-1 Filed 03/03/22 Page 31 of 87
                                                                                                                           Exhibit 3

  1982        1983         1984        1985      1986        1987          1988       1989       1990        1991      1992       1993         1994          1995     1996      1997        1998      1999          2000          2001



 1981 Edition of Title 24 (Part 2)            1985 Edition of Title 24                  1989 Edition of Title 24               1992 Edition of Title 24                1995 Edition of Title 24              1998 Edition of Title 24
         Effective 1982                           Effective 1985                         Effective July 1, 1989                 Effective July 1, 1982                 Effective January 1,1996               Effective July 1,1999

      Based on 1979 UBC               Based on 1979 UBC,1982 UBC, 1985 UBC                 Based on 1998 UBC                    Based on 1991 UBC                        Based on 1994 UBC                    Based on 1997 UBC



                                                                                                          FHA - March 13, 1991
                                                                                                          1991 ADA Standards – July 26, 1991
                                                                                   Danville
                                     Nohl     Loma                       South     Diablo                                                  North                                                   Citrus
Alhambra               Oceanside     Ranch    Linda       Brea           Tarzana   Road                                                    Fremont        Roseville          Auburn      Hemet     Heights       Mirage Inn Brookhurst

                                              North       Redwood                  San                                                                                                             Kettleman
Chanate                                       Euclid      City                     Ramon                                                                  Windsor            Lodi                  Lane      Northridge Fountaingrove

North                                                     Scotts
Tarzana                                       San Jose    Valley                                                                                                             Murrietta             Riverwalk

                                              San
                                              Marcos      Tracy
                                              Santa
                                              Monica      Uptown
                                              Gardens     Whittier
                                                                  Case 4:17-cv-03962-HSG Document 377-1 Filed 03/03/22 Page 32 of 87
                                                                                               Exhibit 3

2002   2003       2004        2005        2006   2007   2008      2009       2010



               2001 Edition of Title 24                  2007 Edition of Title 24
              Effective November 1,2002                  Effective January 1,2008

                 Based on 1997 UBC                         Based on 2006 IBC




                                      Cortona
                                      Park
                Case 4:17-cv-03962-HSG Document 377-1 Filed 03/03/22 Page 33 of 87
                                          Exhibit 6


Brookdale Loma Linda




                                                                                     Page 1 of 10
                   Case 4:17-cv-03962-HSG Document 377-1 Filed 03/03/22 Page 34 of 87
                                             Exhibit 6


Brookdale Irvine




                                                                                        Page 2 of 10
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                                           Exhibit 6


Brookdale Clairemont




                                                                                      Page 3 of 10
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                                           Exhibit 6


Brookdale Murrietta




                                                                                      Page 4 of 10
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                                           Exhibit 6


Brookdale Brea




                                                                                      Page 5 of 10
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                                             Exhibit 6


Brookdale Auburn




                                                                                        Page 6 of 10
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                                          Exhibit 6


Brookdale Ocean House




                                                                                     Page 7 of 10
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                                           Exhibit 6


Brookdale Danville




                                                                                      Page 8 of 10
                 Case 4:17-cv-03962-HSG Document 377-1 Filed 03/03/22 Page 41 of 87
                                           Exhibit 6


Brookdale Paulin Creek




                                                                                      Page 9 of 10
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                                           Exhibit 6


Brookdale Northridge




                                                                                      Page 10 of 10
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                            Exhibit 7




                                                     Brookdale Alhambra

                                                     1 E Commonwealth
                                                     Alhambra, CA 91801




                                                     Brookdale Auburn

                                                     11550 Education St
                                                     Auburn, CA 95602




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                            Exhibit 7




                                                     Brookdale Anaheim

                                                     200 North Dale Ave
                                                     Anaheim, CA 92801




                                                     Brookdale Brea

                                                     285 West Central Ave
                                                     Brea, CA 92821




                                                                      Page 2 of 24
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                            Exhibit 7




                                                     Brookdale Brookhurst

                                                     15302 Brookhurst St
                                                     Westminster, CA 92683




                                                     Brookdale Central Whittier

                                                     8101 Painter Ave
                                                     Whittier, CA 90602




                                                                    Page 3 of 24
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                            Exhibit 7




                                                     Brookdale Chanate

                                                     3250 Chanate Rd
                                                     Santa Rosa, CA 95404




                                                     Brookdale Chatsworth

                                                     20801 Devonshire St
                                                     Chatsworth, CA 91311




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                            Exhibit 7




                                                     Brookdale Citrus Heights

                                                     7375 Stock Ranch Rd
                                                     Citrus Heights, CA 95621




                                                     Brookdale Clairemont

                                                     5219 Clairemont Mesa Blvd
                                                     San Diego, CA 92117




                                                                     Page 5 of 24
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                            Exhibit 7




                                                     Brookdale Corona

                                                     2005 Kellogg Ave
                                                     Corona, CA 92879




                                                     Cortona Park

                                                     150 Cortona Way
                                                     Brentwood, CA 94513




                                                                    Page 6 of 24
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                            Exhibit 7




                                                     Brookdale Danville

                                                     400 West El Pintado Blvd
                                                     Danville, CA 94526




                                                     Brookdale Diablo Lodge

                                                     950 Diablo Rd
                                                     Danville, CA 94526




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                            Exhibit 7




                                                     Brookdale Folsom

                                                     780 Harrington Way
                                                     Folsom, CA 95630




                                                     Fountaingrove

                                                     300 Fountaingrove Parkway
                                                     Santa Rosa, CA 95403




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                            Exhibit 7




                                                     Brookdale Garden Grove

                                                     10200 Chapman Ave
                                                     Garden Grove, CA 92840




                                                     Brookdale Gardens of
                                                     Tarzana

                                                     18700 Burbank Blvd
                                                     Tarzana, CA 91356




                                                                   Page 9 of 24
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                            Exhibit 7




                                                     Hemet

                                                     1177 South Palm Ave
                                                     Hemet, CA 92543




                                                     Brookdale Irvine

                                                     10 Marquette
                                                     Irvine, CA 92612




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                            Exhibit 7




                                                     Brookdale Kettleman Lane

                                                     2150 West Kettleman Lane
                                                     Lodi, CA 95242




                                                     Brookdale Lodi

                                                     2220 West Kettleman Lane
                                                     Lodi, CA 95242




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                            Exhibit 7




                                                     Brookdale Loma Linda

                                                     25585 Van Leuven St
                                                     Loma Linda, CA 92354




                                                     Brookdale Mirage Inn

                                                     72750 Country Club Drive
                                                     Rancho Mirage, CA 92270




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                            Exhibit 7




                                                     Brookdale Monrovia

                                                     201 East Foothill Blvd
                                                     Monrovia, CA 91016




                                                     Brookdale Murrieta

                                                     24350 Jackson Ave
                                                     Murrieta, CA 92562




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                            Exhibit 7




                                                     Brookdale Napa

                                                     3255 Villa Lane
                                                     Napa, CA 94558




                                                     Brookdale Nohl Ranch

                                                     380 South Anaheim Hills Rd
                                                     Anaheim Hills, CA 92807




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                            Exhibit 7




                                                     Brookdale North Euclid

                                                     1031 North Euclid Ave
                                                     Ontario, CA 91762




                                                     Brookdale North Fremont

                                                     38035 Martha Ave
                                                     Fremont, CA 94536




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                            Exhibit 7




                                                     Brookdale North Tarzana

                                                     5711 Reseda Blvd
                                                     Tarzana, CA 91356




                                                     Brookdale Northridge

                                                     17650 Devonshire St
                                                     Northridge, CA 91325




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                            Exhibit 7




                                                     Brookdale Ocean House

                                                     2107 Ocean Ave
                                                     Santa Monica, CA 90405




                                                     Brookdale Oceanside

                                                     3524 Lake Blvd
                                                     Oceanside, CA 92056




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                            Exhibit 7




                                                     Brookdale Paulin Creek

                                                     2375 Range Ave
                                                     Santa Rosa, CA 95403




                                                     Brookdale Redwood City
                                                     485 Woodside Rd
                                                     Redwood City, CA 94061




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                            Exhibit 7




                                                     Brookdale Riverwalk

                                                     350 Calloway Drive
                                                     Bakersfield, CA 93312




                                                     Brookdale Roseville

                                                     1 Somer Ridge Drive
                                                     Roseville, CA 95661




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                            Exhibit 7




                                                     Brookdale San Jose

                                                     1009 Blossom River Way
                                                     San Jose, CA 95123




                                                     Brookdale San Marcos

                                                     1590 West San Marcos Blvd
                                                     San Marcos, CA 92078




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                            Exhibit 7




                                                     Brookdale San Ramon

                                                     18888 Bollinger Canyon Rd
                                                     San Ramon, CA 94583




                                                     Brookdale Santa Monica
                                                     Gardens

                                                     851 Second Street
                                                     Santa Monica, CA 90403




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                            Exhibit 7




                                                     Brookdale Scotts Valley

                                                     100 Lockwood Lane
                                                     Scotts Valley, CA 95066




                                                     Brookdale Sunwest

                                                     1001 N Lyons Avenue
                                                     Hemet, CA 92545




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                            Exhibit 7




                                                     Brookdale Tracy

                                                     355 West Grant Line Road
                                                     Tracy, CA 95376




                                                     Brookdale Uptown
                                                     Whittier

                                                     13250 Philadelphia Street
                                                     Whittier, CA 90601




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                            Exhibit 7




                                                     Brookdale Valley View

                                                     5900 Chapman Ave
                                                     Garden Grove, CA 92845




                                                     Brookdale Windsor

                                                     907 Adele Drive
                                                     Windsor, CA 95492




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                                                  Exhibit 8
Studio Units

Brookdale Diablo Lodge                                        Brookdale Anaheim

                                                               Studio
 Studio
                                                               204 sq. ft.
 415 sq. ft.


          Patio/Balcony           Closet
           9’2” x 5’6”           7’ x 5’6”




                                                                             Living Area


                 Living Area
                 16’ x 12’5”




                                                                       Bath


                                  Bath
                               9’1” x 8’5”




Brookdale Garden Grove                                        Brookdale Alhambra

                                                               Studio C
 Studio
                                                               410 sq. ft.
 327 sq. ft.




                                                                                      Living Area
         Bedroom/Living Room




                                                                                                    Closet
                                         Closet




       Bath                                                                                         Bath




                                                                                                             Page 1 of 9

 Studio Apartment
            Case 4:17-cv-03962-HSG Document 377-1 Filed 03/03/22 Page 68 of 87
                                                          Exhibit 8
Studio Units

Brookdale Brookhurst                                                  Brookdale Chanate
                                                                      Studio
Studio                                                                Approx. 450 sq. ft.
465 sq. ft.

                                                                            Alcove                          Deck
     Patio/Balcony                                                          5’ x 9’




                        Living Area
                                                                                              Living Area
                                                                                                12’ x 17’

                                                 Closet



                                                                                  Kitchenette
                                      Bathroom
   Kitchenette




                                                                                       Bath
             Studio - 465 Sq. Ft.




                                                                                           Studio
 Brookdale San Ramon                                                      BrookdaleApprox.
                                                                                    Irvine 450 sq. feet
                                                                           Villa
   Studio A
   150 - 250 sq. ft.
                                                                           Approx. 379 sq. ft.



                 Patio




                     Living Area




     Closet                           Bath




                                                                                                                   Page 2 of 9
        Case 4:17-cv-03962-HSG Document 377-1 Filed 03/03/22 Page 69 of 87
                                            Exhibit 8
One Bedroom Units

Brookdale Uptown Whittier                               Brookdale San Ramon

One Bedroom                                             One Bedroom A
500 sq. ft.                                             582 sq. ft.

      Balcony



                                                            Bedroom                   Living
   Living Room
                                       Bedroom                                        Room

                                                           Closet


                                Bath                        Bath
 Kitchen
                                                                                             Kitchen




 Brookdale Napa                                               Brookdale San Jose

 One Bedroom
                                                              One Bedroom
 544 sq. ft.                                                  One Bedroom, One Bath
                                                              Approx. 600 sq. ft.



                                                                    Bath
                                                                                   Kitchen
           Living Area                  Bedroom


                                                                    Dressing             Living
                                                                                      12’0” x 19’2”



                                            Closet


     Kitchen
                                                                    Bedroom
                                                                   14’9” x 14’8”
           Closet
                         Bath

                                                                                        Balcony

           Closet




                                                                                              Page 3 of 9
         Case 4:17-cv-03962-HSG Document 377-1 Filed 03/03/22 Page 70 of 87
                                Exhibit 8
 One Bedroom Units

Brookdale Monrovia                                 Brookdale Anaheim Hills

One Bedroom                                       One Bedroom
                                                        ONE BEDROOM             DELUXE
456 sq. ft.                                       Approx. 450 sq. ft.


                                                        Kitchenette



                                                                 Living Room              Balcony




                                                         Bath


                                                                        Bedroom
                                                        Closet




                                                                      450 Sq. Ft.



Brookdale Windsor                                 Brookdale Paulin Creek
                                                   One Bedroom
Chardonnay                                         678 sq. ft.
605 sq. ft.




                                                                                         Page 4 of 9
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                                       Exhibit 8
Two Bedroom Units

 Brookdale Nohl Ranch

 Two Bedroom Apartment
 Approx. 900 sq. ft.

                                                Cabinets   Cabinets



     Closet        Bath                                                                       Bath        Closet




        Bedroom                   Dining Room                         Living Room                    Bedroom




 Brookdale Loma Linda

Two Bedroom
900 sq. ft.




                                         Kitchenette

     Bath                     Closet                                         Closet        Bath




                Bedroom                      Living Room                             Bedroom
              23’4” x 20’2”                 11’4” x 20’2”                           12’ x 20’2”




                                                                                                       Page 5 of 9
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                                       Exhibit 8
Two Bedroom Units

 Brookdale Tracy
               Two Bedroom, Two Bath

                                              33’

                         11’                  11’           11’


        4’6”




                                          Living Area
16’6”
        12’          Bedroom                             Bedroom




        8’6”      Bath                     Kitchen                Bath




  Brookdale Scotts Valley

  Two Bedroom H
  1175 sq. ft.




                                                                              Page 6 of 9
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                                          Exhibit 8
Two Bedroom Units

Brookdale San Jose

  Two Bedroom
  Two Bedroom, One Bath
  Approx. 800 sq. ft.


                              Kitchen          Bath




          Living/Dining
                                             Dressing
          16’3” x 15’9”




        Patio

                            Bedroom        Bedroom
                          8’10” x 10’0”   10’8” x 12’8”




Brookdale San Marcos

Two Bedroom




                                                                            Page 7 of 9
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                                Exhibit 8
Two Bedroom Units

Brookdale Redwood City

 Two Bedroom, Two Bath, Patio




 Corona Park




                                                                            Page 8 of 9
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                              Exhibit 8
Two Bedroom Units

Brookdale Riverwalk


     Two Bedroom
     1021 sq. ft.




           Bedroom                                Bedroom
           12’ x 15’        Living Room           12’ x 12’
                              15’ x 17’




                            Kitchen
              Bath                                   Bath




                                                                            Page 9 of 9
                                        Case 4:17-cv-03962-HSG Document 377-1 Filed 03/03/22 Page 76 of 87
                                                                        Exhibit 9



                                                                   Door Hardware




  Diablo
  Lodge



               UNIT 179 - Entry Door      UNIT 247 - Entry Door    UNIT 175 - Bathroom Door   UNIT 247 - Bathroom Door




San Marcos



               UNIT 107 - Entry Door      UNIT 107 - Entry Door       UNIT 108 - Bathroom




 Chanate



               UNIT 106 - Entry Door    UNIT 106 - Bedroom Door      UNIT 212 - Entry Door    UNIT 212 - Bedroom Door    UNIT 205 - Entry Door




 Windsor



                UNIT 8 - Entry Door       UNIT 11 - Entry Door      UNIT 11 - Bedroom Door    UNIT 78 - Bedroom Door



  Santa
 Monica
 Gardens


             UNIT 228 - Bathroom Door   UNIT 315 - Bathroom Door    UNIT 228 - Balcony Door   UNIT 319 - Balcony Door




                                                                                                                                                 1 of 8
                        Case 4:17-cv-03962-HSG Document 377-1 Filed 03/03/22 Page 77 of 87
                                                       Exhibit 9



                                         Door Pull Maneuvering Clearance




Brookhurst



             UNIT 129         UNIT 126                    UNIT 103




  Diablo
  Lodge



             UNIT 261         UNIT 261




 Windsor



              UNIT 8           UNIT 8                     UNIT 11                UNIT 11     UNIT 78




                                                                                                       2 of 8
                        Case 4:17-cv-03962-HSG Document 377-1 Filed 03/03/22 Page 78 of 87
                                                     Exhibit 9



                                               Toilet Clearance




 Anaheim



             UNIT 117         UNIT 117                  UNIT 135                 UNIT 224




Brookhurst



             UNIT 129         UNIT 126                  UNIT 103




Loma Linda



             UNIT 105         UNIT 106                  UNIT 185                 UNIT 277




  Diablo
  Lodge



             UNIT 102         UNIT 108                  UNIT 216                 UNIT 244    UNIT 247



  Santa
 Monica
 Gardens


             UNIT 228         UNIT 315                  UNIT 318                 UNIT 319    Unit 109




                                                                                                        3 of 8
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                                                    Exhibit 9



                                                Lavatories




Alhambra



                             UNIT 137                  UNIT 208




  Brea



            UNIT 103         UNIT 117                  UNIT 137                 UNIT 201    UNIT 235




 Diablo
 Lodge



            UNIT 102         UNIT 108                  UNIT 247




Windsor



             UNIT 8          UNIT 11




Riverwalk



            UNIT 213         UNIT 224                  UNIT 228                 UNIT 236




                                                                                                       4 of 8
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                                                     Exhibit 9



                                               Bathing Fixtures




Alhambra



             UNIT 106         UNIT 107                  UNIT 108                 UNIT 08     UNIT 208




Loma Linda



             UNIT 101         UNIT 105                  UNIT 185




  Daiblo
  Lodge



             UNIT 102         UNIT 216                  UNIT 263                 UNIT 177    UNIT 247




 Chanate



             UNIT 106         UNIT 205




Nohl Ranch



             UNIT 218         UNIT 252                  UNIT 301                 UNIT 303




                                                                                                        5 of 8
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                                                     Exhibit 9



                                                   Closets




 Anaheim



             UNIT 117         UNIT 118                  UNIT 120                 UNIT 225    UNIT 329




Brookhurst



             UNIT 129         UNIT 129                  UNIT 126                 UNIT 103




  Diablo
  Lodge



             UNIT 102         UNIT 108                  UNIT 236                 UNIT 247    UNIT 247




San Marcos



             UNIT 107         UNIT 107                  UNIT 107                 UNIT 108




 Windsor



              UNIT 8          UNIT 11                   UNIT 11                  UNIT 53     UNIT 78




                                                                                                        6 of 8
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                                                       Exhibit 9



                                              Kitchen / Kitchenette




Brookhurst



             UNIT 129          UNIT 129                  UNIT 126                 UNIT 103    UNIT 103




San Ramon



             UNIT 3302        UNIT 2205




  Diablo
  Lodge



             UNIT 102          UNIT 102                   UNIT 108                UNIT 247    UNIT 177



  Santa
 Monica
 Gardens


             UNIT 105          UNIT 109                   UNIT 228                UNIT 315    UNIT 319




Loma Linda



             UNIT 101          UNIT 103                   UNIT 170                UNIT 161    UNIT 286




                                                                                                         7 of 8
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                                                            Exhibit 9



             Reception Desks




  Diablo
  Lodge




 Windsor




 Uptown
 Whittier




Loma Linda




San Marcos




                                                                                                    8 of 8
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                                               Exhibit 10

Diablo Lodge – floor to ceiling grab bar next to the bed




Chanate – floor to ceiling grab bar between the toilet and bathtub




Riverwalk - floor to ceiling grab bar next to the toilet and outside the shower




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                                             Exhibit 10

Uptown Whittier – bathroom door and closet door removed




Santa Monica Gardens – resident request for a cusom closet with adjustable shelves clothes rod




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                                              Exhibit 10

Cortona Park– resident request for additional grab bars




Paulin Creek – resident request for additional grab bars




Cortona Park –resident request for window shutters




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                                           Exhibit 10

Santa Monica Gardens – resident request for window and door shutters




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